Case: 5:13-cr-00420-PAG Doc #: 144 Filed: 05/08/14 1 of 3. PageID #: 1618




                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



 United Sates of America,                    )       CASE NO. 5:13 CR 420
                                             )
                       Plaintiff,            )       JUDGE PATRICIA A. GAUGHAN
                                             )
               Vs.                           )
                                             )
 Benjamin Suarez, et al.                     )       Memorandum of Opinion and Order
                                             )
                       Defendants.           )


        INTRODUCTION

        This matter is before the Court upon Defendant Michael Giorgio's Motion for a Bill of

 Particulars (Doc. 33). Also pending is Defendant Benjamin Suarez's Motion for a Bill of

 Particulars (Doc. 58). For the reasons that follow, the motions are DENIED.

        ANALYSIS

        Defendants argue that the indictment is insufficient to put them on notice of the crimes

 charged and, as such, they are unable to properly prepare their defenses. According to defendant

 Suarez, the indictment does not identify the members of the alleged conspiracy. Nor does it

 explain how Suarez caused a candidate to make false statements. In his request, defendant


                                                 1
Case: 5:13-cr-00420-PAG Doc #: 144 Filed: 05/08/14 2 of 3. PageID #: 1619




 Suarez asks that the Court order the government to provide information, including but not

 limited to, the following: identities of all co-conspirators, dates and places of the events

 supporting the conspiracy, as well as the specific conduct purporting to show the conspiracy, the

 identities of the individuals who solicited each of the alleged conduit contributors, the date and

 content of each agreement to reimburse the employees, a statement of whether Suarez acted

 directly or indirectly and, if indirectly, a description of the indirect actions. Similarly, defendant

 Giorgio seeks a bill of particulars. According to defendant Giorgio, the indictment is insufficient

 to allow him to prepare a defense or argue double jeopardy in a future prosecution. Defendant

 Giorgio asks that the Court order the government to provide the identities of the co-conspirators

 and “aiders and abettors,” the initials of the individuals referred to in the indictment, and copies

 of the 22 documents allegedly responsive to the grand jury subpoenas.

        In response, the government argues that the indictment is sufficiently particular to enable

 defendants to adequately prepare their defenses. The government claims that defendants’

 requests are improper attempts to learn the government's evidence and strategy of the case. In

 addition, the government points out that in the interest of cooperation, it provided defense

 counsel with a list disclosing the identities of the individuals referred to in the indictment by

 their initials. The government further provided the 22 documents requested by defendant

 Giorgio. According to the government, it need not disclose the identities of the co-conspirators

 or “aiders and abettors.”

        Upon review, the Court agrees with the government and denies defendants’ request for

 bills of particulars. “A bill of particulars is not meant as a tool for the defense to obtain detailed

 disclosure of all evidence held by the government before trial.” U.S. v. Crayton, 357 F.3d 560,


                                                    2
Case: 5:13-cr-00420-PAG Doc #: 144 Filed: 05/08/14 3 of 3. PageID #: 1620




 568 (6th Cir. 2004)(internal quotations omitted). In that vein, “the Government is not required to

 furnish the name of all other co-conspirators in a bill of particulars.” Id. (citing United States v.

 Rey, 923 F.2d 1217, 1222 (6th Cir.1991)). Nor is the government obligated to identify aiders

 and abetters. See, United States v. Birmley, 529 F.2d 103, at n.3 (6th Cir. 1976). Moreover, the

 government indicated that it provided the full identities of the individuals identified in the

 indictment by initials, as well as the 22 documents requested by defendant Giorgio. The

 remaining information sought by defendants, e.g., “the date and content of each agreement to

 reimburse the employees, a statement of whether Suarez acted directly or indirectly and, if

 indirectly, a description of the indirect actions” plainly constitutes the government’s proof at trial

 and would unduly expand the scope of discovery. Here, the indictment is sufficiently particular

 to put defendants on notice of the charges such that they can adequately prepare for trial without

 unfair surprise. It further would allow defendants to plead double jeopardy. As such, defendants

 are not entitled to bills of particulars.

         CONCLUSION

         For the foregoing reasons, Defendant Michael Giorgio's Motion for a Bill of Particulars

 (Doc. 33) and Defendant Benjamin Suarez's Motion for a Bill of Particulars (Doc. 58) are

 DENIED.

          IT IS SO ORDERED.




                                             /s/ Patricia A. Gaughan
                                             PATRICIA A. GAUGHAN
                                             United States District Judge
  Dated: 5/8/14


                                                      3
